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Scott William Miller, and James Douglas Wilson

UNITED STATES DISTRICT COURT

DISTRICT OF CALIFORNIA

CARPENTERS SOUTHWEST No. 2:16-cv-08040-WMF-SK
ADMINISTRATIVE CORPORATION, a
California non-profit corporation; and DECLARATION OF JAMES
BOARD OF TRUSTEES FOR THE
CARPENTERS SOUTHWEST TRUSTS, DOUGLAS WILSON

Plaintiffs,
v.

HKB, INC., an Arizona corporation, doing
business as SOUTHWEST INDUSTRIAL
RIGGING; HARRY KENT BAKER, an
individual; SCOTT WILLIAM MILLER, an
individual; JAMES DOUGLAS WILSON,
an individual,

 

Defendants.

 

 

 

I, James Douglas Wilson, declare as follows:

l. l am Chief Financial Officer of HKB, Inc., which does business in
Arizona as Southwest Industrial Rigging (“Southwest”). I submit this declaration for the
sole purpose of joining Southwest’s motion to dismiss this lawsuit or transfer venue.

2. l work and reside in Arizona.

3. Upon information and belief, Messrs. Harry Kent Baker (“Baker”) and
Scott William Miller (“Miller”) work and reside in Arizona.

4. I do not own any property in California.

5. Upon information and belief, Messrs. Baker and Miller do not own any
property in California.

6. l do not have a California phone number, address or other contact

information.

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7. Upon information and belief, Messrs. Baker and Miller do not have a
California phone number, address or other contact information

8. I have no contact with or affiliation with any lawyers, litigants, or
witnesses in California.

9. Upon information and belief, Messrs. Baker and Miller have no contact
with or affiliation with any lawyers, litigants, or witnesses in California.

10. l have never been party to a lawsuit in California.

ll. Upon information and belief, Messrs. Baker and Miller have never been
party to a lawsuit in California.

12. With regards to the Memorandum Agreement which Plaintiffs attached to
the Complaint in this action1 l never knew of the Memorandum Agreement; I never
consented to the Memorandum Agreement; l never ratified the Memorandum
Agreement; I never received any benefits under the Memorandum Agreement; I never
had the expectation of receiving benefits under the Memorandum Agreement; I did not
sign and was not a party to the Memorandum Agreement.

l3. Upon information and belief, with regards to the Memorandum
Agreement which Plaintiffs attached to the Complaint in this action, Messrs. Baker and
Miller: never knew of the Memorandum Agreement; never consented to the
Memorandum Agreement; never ratified the Memorandum Agreement; never received
any benefits under the Memorandum Agreement; never had the expectation of receiving
benefits under the Memorandum Agreement; did not sign and were not parties to the
Memorandum Agreement.

l4. With regards to the Union: l never received any benefits from the Union; I

never knew the Union purported to offer me benefits, nor would I accept such benefits

from the Union.

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15. Upon information and belief with regards to the Union. Mcssrs. Baker
and Milier: never received any benefits from the Union; never knew the Union
purported to offer them benefits, nor would they accept such benefits from the Union

16. W ith regards to the Trust: l never received any benefits from the Trust: l
never knew the Trust purported to offer me benefits nor would l accept such benefits
from the "`I"rust.

l7. Upon information and belief with regards to the Trust, Messrs. Baker and
Miller; never received any benefits from the 'l`ru$t; never knew the 'l` rust purported to
ot"l"er them benefits nor would they accept such benefits from the Trust.

18. To the extent possible Southwest avoids doing business in California in
an effort to avoid the additional costs of complying with California-specific regulations
which do not exist in Arizona.

Pursuant to 28 U,S.C. § 1746, l declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge
}_:Xl;(.,.U l"I:;D this L_ day ot Decembcr, 2016 in ';_»§QQ A/ 554 , Arizona.

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James Doug_las Wilson

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